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 8                         IN THE UNITED STATES DISTRICT COURT

 9                            EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,              ) CASE NO. 2:11-CR-00148 KJM
                                            )
12                          Plaintiff,      ) ORDER GRANTING PARTIES’
                                            ) REQUEST TO SEAL DOCUMENT
13   v.                                     )
                                            ) [EDCA LR 141]
14   LUONG DAU MOC,                         )
                                            )
15                          Defendant       )
                                            )
16                                          )
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18        This matter came before the Court on the parties’ joint request

19   to seal the written plea agreement submitted at the plea hearing on

20   March 28, 2012.      For the reasons stated on the record at the plea

21   hearing, the Court hereby GRANTS the request to seal and orders that

22   the written plea agreement will be filed under seal in its entirety.

23        IT IS SO ORDERED.

24   DATED:    March 28, 2012.

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                                                UNITED STATES DISTRICT JUDGE
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